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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           Cr. No. 06-00080 SOM (02)
                              )
          Plaintiff,          )           ORDER DENYING RODNEY JOSEPH’S
                              )           MOTION TO STAY PROCEEDINGS
     vs.                      )           PENDING ADJUDICATION OF HIS
                              )           INTERLOCUTORY APPEAL
RODNEY JOSEPH (02),           )
                              )
          Defendant.          )
_____________________________ )

       ORDER DENYING RODNEY JOSEPH’S MOTION TO STAY PROCEEDINGS
           PENDING ADJUDICATION OF HIS INTERLOCUTORY APPEAL

I.           INTRODUCTION.

             Defendant Rodney Joseph was charged in an eight-count

Second Superseding Indictment filed on October 12, 2006.               A jury

trial is scheduled in this matter for February 12, 2008.               The

parties have been informed that this is a firm trial date, as at

least one Defendant, Kai Ming Wang, is in custody, and has long

been objecting to continuances of the trial date.             Defendant Wang

has gone so far as to seek a severance of this case so that, in

part, he can go to trial as soon as possible.

             On August 1, 2007, Joseph filed a motion to suppress

evidence claiming that his Miranda rights had been violated and

that his counsel had been ineffective.           See Motion to Suppress

(Doc. No. 404).      This court had initially thought that it might

address these arguments separately.         However, the court

subsequently determined that the issues are so intertwined that

they should be determined together.
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          Because Joseph asserted that his prior counsel was

ineffective, the court granted the Government’s motion, based on

fairness grounds, that the court deem the attorney-client

privilege waived by that assertion.      Joseph has not appealed this

determination and, on or before January 7, 2008, the Government

interviewed Joseph’s prior counsel about matters formerly covered

by the attorney-client privilege.

          On January 8, 2008, this court issued a ruling

pertaining to the Government’s use of the privileged matters in

subsequent proceedings.    Joseph has appealed this ruling and now

seeks a stay of this proceeding pending the determination of his

appeal.   Although the court previously noted to counsel that its

January 8, 2008, ruling might be immediately appealable, the

court reconsiders that statement.      The court rules that, because

the January 8, 2008, ruling regarding use of evidence at trial is

not immediately appealable, this court should not sever Joseph

from this case and try him separately at a later date.

Accordingly, the court denies Joseph’s motion to stay.

II.       BACKGROUND.

          Joseph’s Motion to Suppress Evidence was originally set

for hearing on October 29, 2007.       See Notice of Hearing of Motion

(Doc. No. 405).    This motion claims that Joseph’s Miranda rights

had been violated and that his counsel had been ineffective.             See

Motion to Suppress (Doc. No. 404).


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            On October 5, 2007, the Government filed a motion

seeking a determination that Joseph had waived the attorney-

client privilege with respect to matters relating to his claim of

ineffective assistance of counsel.      See Motion for Order Finding

Waiver of Attorney-Client Privilege (Doc. No. 433).

            On October 17, 2007, the court announced that it would

hear the privilege waiver motion on October 24, 2007.           See Notice

of Hearing of Motion (Doc. No. 467).      That same day, the hearing

on Joseph’s motion to suppress evidence was continued to November

15, 2007.    See Notice of Hearing of Motion (Doc. No. 469).           This

continuance allowed briefing and argument regarding the waiver of

the attorney-client issue before the hearing on Joseph’s motion

to suppress.

            On October 29, 2007, the court orally granted the

Government’s motion, and a written order was filed the following

day stating that Joseph had waived his attorney-client privilege

with respect to the matters raised by his ineffective assistance

of counsel claim.    See Order Regarding Partial Waiver of

Attorney-client Privilege with Respect to Defendant’s Motion to

Suppress Statement and Evidence (Doc. No. 506).          Although the

parties had not briefed the issue of use of the privilege

material in subsequent proceedings, the court noted:

                 In connection with Joseph’s motion to
            suppress, the Government may freely interview
            and may use statements by Evans concerning


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          Joseph’s ineffective assistance of counsel
          claims. The Government may also call Evans
          as a witness in connection with Joseph’s
          motion to suppress based on Evans’s alleged
          ineffective assistance of counsel. The
          Government, however, may not use any
          statement or call Evans in further
          proceedings unrelated to Joseph’s motion to
          suppress based on alleged ineffective
          assistance of counsel. Only if Joseph opens
          the door at trial by himself testifying or by
          presenting evidence contrary to what Evans
          has stated may the Government call Evans in
          rebuttal and use Evans’s statements to
          impeach Joseph’s evidence.

               If any party objects to the prohibition
          on the Government’s use of Evans’s statement
          in its case in chief or to the allowing of
          the use of Evans’s statement by the
          Government in rebuttal if the defense
          presents contrary evidence, that party
          should immediately notify the court of such
          objection. If possible, any such objection
          shall be submitted to the court before Evans
          is even interviewed concerning Joseph’s
          ineffective assistance of counsel claims.

Id. at 5-6.

          On November 1, 2007, Joseph filed objections to this

court’s tentative ruling that attorney-client privilege matter

could be used at trial.    See Defendant Joseph’s Objection

To Order Regarding Partial Waiver of Attorney-client Privilege

with Respect to Defendant’s Motion to Suppress Statement and

Evidence (Doc. No. 510).

          On November 2, 2007, the court entered an order asking

Joseph to submit legal authority supporting his objections and

requesting that the Government submit its position with respect


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to use of privileged matter at trial.         See Entering Order (Doc.

No. 515).

            On November 16, 2007, by agreement of the parties,

Joseph’s motion to suppress evidence was continued to December

13, 2007.    See Entering Order (Doc. No. 531).        On December 13,

2007, the motion was again continued to January 10, 2008.             See

Docket Entry (Dec. 13, 2007).

            On December 27, 2007, at a hearing in connection with

another motion, the court held a discussion with the parties

about the scope and use of Joseph’s waiver of the attorney-client

privilege.    In light of the Government’s intention to file a

brief on the matter, the court withdrew its earlier order

regarding the use of the attorney-client privilege matter.              See

Order Withdrawing (Pending Further Briefing) Portion of “Order

Regarding Partial Waiver of Attorney-client Privilege with

Respect to Defendant’s Motion to Suppress Statement and Evidence”

(Doc. No. 577).    The court then attempted to set forth a schedule

to determine the scope of the use of privileged information in

light of the February 12, 2008, trial date in this case, this

court’s upcoming multiple-week trial in United States v. Bennett,

Crim. No. 06-00068 SOM, the then-existing state court murder

trial arising out of the same events underlying this action, and

the other Defendant’s Speedy Trial Act rights.          The court stated

that, if the Government submitted its brief by January 7, 2008,


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this court would attempt to issue a ruling by January 8, 2008, on

the issue.    At that time, the court noted that the Government

would be interviewing Joseph’s prior counsel, and Joseph did not

object to such an interview.

            After receiving the Government’s position statement,

the court, on January 8, 2008, issued its Order Regarding Use of

Privileged Information as Rebuttal Evidence at Trial (Doc. No.

584).    Because the privileged information received by the

Government would be used in further proceedings, this court held:

            if it finds ineffective assistance of counsel
            and suppresses Joseph’s statement as a
            result, privileged information may not be
            used at all by the Government in any part of
            the trial. However, if the court does not
            find ineffective assistance of counsel and
            does not base its suppression ruling on such
            a finding, then the Government may not use
            privileged information in its case in chief
            but may use it for impeachment or in
            rebuttal.

Id. at 8.

            On January 10, 2008, Joseph’s motion was continued to

February 1, 2008.    See Entering Order (Docket Entry Jan. 10,

2008).

            On January 10, 2008, Joseph also filed a Notice of

Appeal of this court’s January 8, 2008, order.          See Notice of

Appeal (Docket No. 591).       Joseph did not appeal this court’s

order determining that he had waived the attorney-client

privilege by filing a motion claiming ineffective assistance of


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counsel.   Instead, the appeal was limited to the court’s January

8, 2008, order regarding the use of the privileged material that

the Government already had because it had interviewed Joseph’s

former counsel.   Id.

           On January 14, 2008, Joseph filed the present motion to

stay this matter pending the Ninth Circuit’s determination of his

interlocutory appeal of this court’s January 8, 2008, order

regarding the use of the attorney-client privilege matter already

disclosed to the Government.     See Motion for Stay of Proceedings

Pending Interlocutory Appeal (Docket No. 594).          Along with that

motion, Joseph filed a sealed declaration of his counsel.             This

court had asked Joseph’s counsel to submit such a declaration

describing how Joseph would be prejudiced by the possibility of

the privileged information being presented to the jury.             The

court explained to Joseph that prejudice would be a chill on

presentation of defense evidence.      The declaration does not

provide the requested information.

III.       ANALYSIS.

           The Ninth Circuit generally has jurisdiction to review

“appeals from all final decisions of the district courts.”              28

U.S.C. § 1291.    A decision is final for purposes of § 1291 when

it ends the litigation on the merits and leaves nothing for the

court to do but execute the judgment.         See United States v.

Griffen, 440 F.3d 1138, 1141 (9th Cir.), cert. denied, 127 S. Ct.


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259 (2006).    The purpose of this finality rule is to prevent the

delays and disruptions that may be caused by an immediate appeal

of pretrial orders.    Id.

          However, there is a narrow exception, called the

“collateral order” exception, to the final judgement requirement

for appeals.   “[A]n interlocutory decision is appealable as a

‘collateral order’ when it ‘(1) conclusively determine[s] the

disputed question, (2) resolve[s] an important issue completely

separate from the merits of the action, and (3) is effectively

unreviewable on appeal from a final judgment.’” Id. (quoting Sell

v. United States, 539 U.S. 166, 176 (2003)).         “Collateral orders

are therefore limited to those situations where the right

asserted is one that must be upheld prior to trial if it is to be

enjoyed at all, or when the practical effect of the order will be

irreparable by any subsequent appeal.”        Griffen, 440 F.3d at 1142

(quotations and citations omitted).      The typical collateral order

that is immediately appealable is a denial of a motion to dismiss

on double jeopardy grounds.     See United States v. Elliot, 463

F.3d 858, 863 (9th Cir.) (“Denial of a defendant’s pretrial

motion to dismiss an indictment on double jeopardy grounds is

immediately appealable as a collateral order under 28 U.S.C.

§ 1291.”), cert. denied, 127 S. Ct. 568 (2006).          In such a case,

forcing a defendant to suffer the burden of a successive trial is

exactly what the double jeopardy clause seeks to prevent.


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            Joseph asserts that the collateral order rule should be

applied here.    The Ninth Circuit has ruled that a claim of

attorney-client privilege is immediately appealable under the

collateral order rule.    See Griffen, 440 F.3d at 1141-42; accord

Bittaker v. Woodford, 331 F.3d 715, 717-18 (9th Cir. 2003) (en

banc).   In Griffen, the defendant filed an interlocutory appeal

of a district court order requiring a special master to deliver

to the Government letters written by the defendant to his wife,

who was also his attorney.     Id. at 1140.    The Ninth Circuit

applied the three-factor test to determine that the order

compelling discovery was immediately appealable.          First, the

order conclusively determined the disputed question of whether

the Government was entitled to read the material.          Second,

appellate review would resolve an important question completely

separate from the merits of the criminal case.         Third, the

erroneous disclosure of the privileged material before trial was

exactly the type of harm that the defendant was seeking to avoid.

Id.   It is this third factor that is particularly instructive.

            At first blush, Joseph’s claim of attorney-client

privilege appears to be governed by the Ninth Circuit’s Griffen

decision.   As in Griffen, this court’s order conclusively

determines the disputed question of the extent that privileged

material may be used at trial.     Appellate review would also

resolve an important question completely separate from the merits


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of the criminal case.    However, Joseph’s case fails the third

prong of the collateral order test.     That is, Joseph’s appeal is

reviewable on appeal from a final judgment.          Unlike Griffen,

Joseph’s appeal does not seek to prevent the Government from

erroneously discovering information.         In fact, the Government has

already met with Joseph’s former counsel and therefore knows the

material formerly covered by the attorney-client privilege.

Joseph’s appeal involves this court’s determination that, under

certain circumstances, the privileged material already known to

the Government may be used at trial.         Accordingly, his appeal

involves an evidentiary ruling and does not involve a situation

in which one of his rights must be upheld before trial if that

right is to be enjoyed at all.     Unlike in Griffen, there is no

“real possibility” that “privileged information would be

irreparably leaked” to the Government if this court mistakenly

determined the scope of the use of the privileged material at

trial.   See United States v. Austin, 416 F.3d 1016, 1023 (9th

Cir. 2005).

            Bittaker is similarly distinguishable.              In Bittaker,

the Ninth Circuit, sitting en banc, determined that a district

court’s protective order was also immediately appealable as a

collateral order.   Bittaker had been convicted and had filed a

§ 2254 petition asserting claims of ineffective assistance of

counsel.   Bittaker, 331 F.3d at 716.        The district court,


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determining that Bittaker had waived the attorney-client

privilege with respect to his ineffective assistance of counsel

claims, issued a protective order limiting the use of the

privileged material to the habeas proceeding.          Id. at 716-17.

The en banc appellate court determined that the district court’s

protective order was immediately appealable because, in part,

there was a possibility that privileged matters would be

improperly turned over to the Government pursuant to the

protective order.   Id. at 717-18.       If Bittaker had turned over

the privileged materials to the Government and the protective

order was found to be invalid, his privilege would have been lost

and the Government could have used that material in any

subsequent proceeding.    Id.     By contrast, Joseph’s appeal does

not relate to the disclosure of privileged material.

          Joseph’s appeal is more like the situation presented in

Austin, 416 F.3d 1016.    In that case, the Ninth Circuit

determined that an order was not immediately appealable as a

collateral order.   Id. at 1024.      Although Austin involved a claim

of attorney-client privilege, the defendants did not identify any

specifically privileged information that was going to be turned

over to the Government and, in fact, conceded that the material

might not have been privileged at all.         Id. at 1023.      The

defendants had entered into a joint defense agreement and, when

one of the defendants withdrew from that agreement, the district


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court determined that discussions held between the defendants at

the jail without their lawyers present were not privileged.              Id.

at 1019.   Because there was no identifiable privilege that would

have been lost if information was provided to the Government,

Austin determined that the third prong of the collateral order

test was not satisfied.       Id. at 1023 (“we cannot defy precedent

to conclude that Defendants’ nonexistent privilege claims involve

an important right the legal and practical value of which would

be lost if review had to await final judgment.”).

           As in Austin, Joseph’s appeal does not involve the

Government being given privileged information pursuant to a court

order or a denial of Joseph’s right to keep that information to

himself.   To the contrary, the Government already knows the

contents of the privileged communications between Joseph and his

former attorney.   Given the court’s and Joseph’s attorney’s

schedules, the approaching trial date affecting other Defendants,

the need for this court to hold an evidentiary hearing on the

matters raised in Joseph’s motion to suppress, as well as the

well-established rule that a client waives his or her attorney-

client privilege by raising claims of ineffective assistance of

counsel, Joseph understandably did not object to the Government’s

interview of his former attorney as to his claims of ineffective

assistance of counsel.    However, because the Government now has

the privileged information, there is no possibility that Joseph’s


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appeal involves a matter that would be essentially unreviewable

on an appeal from the final judgment entered in this matter.

Instead, Joseph may challenge on such an appeal this court’s

ruling that privileged material may be presented to the jury if

Joseph’s suppression motion is denied.       This determination is

buttressed by Joseph’s failure to identify any prejudice flowing

from the later presentation of privileged information to the

jury.

          Because Joseph’s appeal does not involve an appealable

collateral order, this court denies his motion to stay his case

pending the outcome of his appeal.     The court notes, in any

event, that his appeal will be moot if this court determines that

Joseph received ineffective assistance of counsel.            In that

event, this court has ruled that the privileged matters may not

be used at trial.




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IV.         CONCLUSION.

            For the reasons set forth above, Joseph’s motion to

stay this proceeding pending his interlocutory appeal is denied

without a hearing.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, January 22, 2008.



                                           /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge




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